Case 2:19-cv-00085-JMS-DLP Document 150 Filed 04/06/20 Page 1 of 2 PageID #: 3855




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                              TERRE HAUTE DIVISION
  ROGER TODD,                             )
                                          )
                          Plaintiff,      )
                                          )
                       v.                 )    No. 2:19-cv-00085-JMS-DLP
                                          )
  OCWEN LOAN SERVICING, INC.,             )
  DEUTSCHE BANK NATIONAL TRUST            )
  CO., as Trustee for NovaStar Mortgage   )
  Funding Trust, Series 2007-1,           )
                                          )
                          Defendants.     )

                                          ENTRY

        Presently pending before the Court is Defendant Ocwen Loan Servicing, Inc.’s

  Motion for Reconsideration of the Court’s Order on the Plaintiff’s Motion to Compel

  Risk Convergence Reports (Dkt. 121). On April 1, 2020, the parties informed the

  Court that they had reached a tentative agreement regarding which parts of the Risk

  Convergence Reports were discoverable and requested that the Court hold the Motion

  for Reconsideration in abeyance pending the parties’ review of the Risk Convergence

  Reports. The parties’ review of the reports has been complicated by the current

  pandemic outbreak of COVID-19.

        The Court hereby GRANTS the parties’ request to hold the Motion for

  Reconsideration (Dkt. 121) in abeyance pending the parties’ review of the Risk

  Convergence Reports. On or before June 1, 2020, the parties shall file a joint status

  report that outlines their efforts to review the Risk Convergence Reports and whether
Case 2:19-cv-00085-JMS-DLP Document 150 Filed 04/06/20 Page 2 of 2 PageID #: 3856




  the parties still require a ruling on the Motion for Reconsideration.

        So ORDERED.




       Date: 4/6/2020




  Distribution:

  All ECF-registered counsel of record.
